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                    UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

ROBERT D. KLINE, J.D.,                 )
                                       )
                                       )
                                       )
            Plaintiff,
                                       )
                                       )    No. 4:18-cv-00099-MWK-KM
      v.
                                       )
                                       )
                                       )
POLARIS INDUSTRIES, INC.,              )
                                       )
                                       )
      Defendant.                       )
                                       )

                     JOINT CASE MANAGEMENT PLAN

      AND NOW, come the parties, by their respective counsel, and submit this

Joint Case Management Plan. In accordance with the Scheduling Order of January

24, 2018, having complied with the meet and confer requirements set forth in the

Local Rules, the parties hereby submit the following Joint Case Management Plan

consistent with Rule 16 and Rule 26(f) of the Federal Rules of Civil Procedure.

1.0   Principal Issues

      1.1   Separately for each party, please give a statement summary this case:

            By plaintiff(s):

                   This case was brought before the Court of Common Pleas,

            Cumberland County, Pennsylvania to redress injury cause by the
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      Defendant relating to 47 U. S. C. 227, et seq., which is commonly

      known as the Telephone Consumer Protection Act (“TCPA”). Plaintiff

      alleges that Defendant, itself or through its agents, subcontractors or

      employees used an automatic telephone dialing service (“ATDS”) to

      call Plaintiff on his cell phone. Absent a few enumerated exceptions, it

      is against the TCPA to call cell phone subscribers without their

      expressed written permission.


            The more specific issues are as follows:

            (a) Did Defendant call Plaintiff in violation of the TCPA?


            (b) If subcontractors called Plaintiff and violated the TCPA, does

               Defendant have vicarious liability for their actions when they

               violated the TCPA?


            (c) If Defendant is liable for the call to Plaintiff, is it liable for the

               trespass to chattels claim made in Plaintiff’s Complaint?


            (d) If Defendant is liable for the call to Plaintiff, given the

               statements made by Congress when it drafted the TCPA

               relating to invasion of privacy, has it invaded the privacy of

               Plaintiff?
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            (e) If Defendant is liable for the call to Plaintiff, has it acted

                either knowingly or willfully when making the call?


            Plaintiff is in the process of retaining counsel to pursue the

      claims on behalf of a class and requests an extension of 14 days on the

      case management hearing.        Should the extension not be granted,

      Plaintiff reserves the right to request revisions to the case management

      order in the event the case is pursued as a class action.


      By defendant(s):

            This litigation stems from an alleged telephone call placed to

      Robert D. Kline on October 24, 2017. On this date, Robert D. Kline

      received a telephone call which he claims shared the same

      characteristics as other calls utilizing an ATDS. (See Pl.’s Compl. ¶ 16,

      attached as Ex. “A” to Def.’s Notice of Removal, Dkt. No. 1.) After

      answering his telephone, Plaintiff alleges that a caller then identified

      herself as “Britney” of Polaris, represented that “she was from the call

      center in Lithonia [sic], Michigan,” and then encouraged he Plaintiff to

      purchase Defendant’s products. (Id. ¶¶ 16-17).

            On March 7, 2017, Plaintiff initialed this action in the Court of

      Common Pleas of Cumberland County, Pennsylvania with the filing of

      a Writ of Summons on Defendant on October 31, 2017. Thereafter, on
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      December 26, 2017, Plaintiff filed his Complaint alleging that

      Defendant violated the Telephone Consumer Protection Act 47

      U.S.C.A. § 227, et seq., seeking damages in the amount of $1,500

      pursuant to the statute’s treble damages provision. In addition to his

      statutory claim, Plaintiff also asserts a trespass to chattels claim seeking

      damages in the amount of $1 and an invasion of privacy claim seeking

      damages in the amount of $10,000.

            Defendant removed the action to the United States District Court

      for the Middle District of Pennsylvania on January 12, 2018 by filing a

      Notice of Removal. (See, Dkt. No. 1). Thereafter on January 19, 2018,

      Defendant filed its Answer and Affirmative Defenses, denying any and

      all liability to Plaintiff. (See generally, Def.’s Answer and Affirmative

      Defenses, Dkt. No. 2).

            In terms of the first claim raised in Plaintiff’s Complaint,

      Defendant denies that it or any of its agents or employees called

      Plaintiff. Defendant also denies that it is vicariously liable for the entity

      that placed the call to Plaintiff.     To the contrary, Defendant will

      demonstrate that at all times relevant, Defendant had a contract with a

      third party customer service provider who provided customer call center

      services.   Any calls placed by this provider were done o as an
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      independent contractor of Defendant and, therefore, that no agency or

      employment relationship existed, and Defendant cannot be responsible

      for any alleged violations of the TCPA.

             In terms of the second claim raised in Plaintiff’s Complaint,

      Defendant will demonstrate that it, not any of its agents or employees

      dispossessed Plaintiff of his telephone; did not impair his telephone’s

      condition, quality or value; did not deprive Plaintiff of the use of his

      telephone for a substantial time; and did not caused bodily harm to

      Plaintiff, nor to anything in which Plaintiff has a legally protected

      interest.

             In terms of the third claim in Plaintiff’s Complaint, Defendant

      will demonstrate that neither it, nor any of its agents or employees

      intentionally intruded upon Plaintiff’s seclusion.

             Defendant denies that Plaintiff is entitled to any statutory or

      common law compensatory damages and Defendant demands the entry

      of judgment in its favor against Plaintiff.

1.2   The facts the parties dispute are as follows:

             Without the benefit of discovery or a complete investigation of

      the circumstances surrounding this claim, virtually all of the facts which
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      are the subject of the Plaintiffs’ Complaint are in dispute. Among other

      things, the parties dispute:

            (a) The circumstances leading to the alleged telephone call on

                October 24, 2017;

            (b) All of the facts and circumstances surrounding the alleged

                telephone call on October 24, 2017;

            (c) The reasonableness of the actions and conduct undertaken by

                the Defendant;

            (d) The reasonableness of the actions and conduct undertaken by

                Plaintiff;

            (e) Whether Plaintiff consented to receiving telemarketing calls;

            (f) The title, purchase and use history of Plaintiff’s telephone;

            (g) The reasonableness of the steps and measures taken by

                Defendant in connection its agreement with its third party

                consumer call service to ensure compliance with the TCPA;

            (h) Whether Plaintiff can establish the predicate facts to support a

                TCPA claim;

            (i) Whether Plaintiff can establish the predicate facts to support

                an award of treble damages in a TCPA claim;
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            (j) Whether Plaintiff can establish the predicate facts to support a

                trespass to chattels claim;

            (k) Whether Plaintiff can establish the predicate facts to support

                an invasion of privacy claim;

            (l) The nature and extent of the injuries and damages claimed by

                each Plaintiff.

            This list of facts in dispute is not intended by the parties as

      exhaustive. Rather it is intended as representative of the nature of the

      facts in dispute.

      agree upon are as follows:

            (a) Defendant is a Delaware Corporation with its principle place

                of business in the state of Minnesota;

            (b) Plaintiff is an adult individual residing at 2256 Fairview Road,

                McClure, Pennsylvania.

1.3   The legal issues the parties dispute are as follows:

            Plaintiff has filed a Complaint asserting claims for a violation of

      the TCPA, trespass to chattels, and invasion of privacy. The Complaint

      seeks both statutory and compensatory damages. Defendant denies any

      liability to Plaintiff and will plead the affirmative defenses applicable to
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      such claims. Given the nature of the legal claims, the legal issues in

      dispute are as follows:

            (a) Whether Defendant violated the TCPA;

            (b) Whether Defendant committed a trespass to chattels;

            (c) Whether a telephone call constitutes a trespass to chattels;

            (d) Whether Defendant committed an invasion of privacy;

            (e) Whether Defendant or any of its agents or employees placed

               or initiated the call to Plaintiff;

            (f) Whether Plaintiff provided his prior express consent;

            (g) Whether Defendant acted knowingly and willfully so as to

               justify the imposition of treble damages;

            (h) Whether Defendant acted intentionally to invade Plaintiff’s

               privacy;

            (i) Whether Plaintiff suffered anxiety, mental distress, as well as

               loss of enjoyment of life;

      agree upon are as follows:

            The parties stipulate and agree that:

            (a) Subject matter jurisdiction exists in the United States District

               Court for the Middle District of Pennsylvania;
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             (b) For purposes of this action, Defendant consents to personal

                jurisdiction in the Commonwealth of Pennsylvania; and

             (c) Venue is proper in the United States District Court for the

                Middle District of Pennsylvania.

1.4   Identify any unresolved issues as to service of process, personal
      jurisdiction, subject matter jurisdiction, or venue:

             Based on the stipulation of the parties, there are no issues with

      respect to personal jurisdiction, subject matter jurisdiction or venue.

1.5   Identify any named parties that have not yet been served:

             Not applicable.

1.6   Identify any additional parties that:

      plaintiff(s) intends to join:

             Upon discovery, Plaintiff will seek leave to join the subcontractor

      of Defendant that is referred to herein. Ultimately the joinder will

      depend on the outcome of discovery and the determination of any other

      parties that may be liable.


      defendant(s) intends to join:

             Defendant is investigating the joinder of its third party customer

      call service.    The joinder of this party, as well as other additional
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             joinders that may be sought will depend on the results of discovery and

             factual investigations.

       1.7   Identify any additional claims that:

             plaintiff(s) intends to add:

             Plaintiff knows of no other claims at this time.

             defendant(s) intends to add:

             See § 1.6 above.

2.0    Disclosures

       The undersigned counsel certify that they have made the initial disclosures
required by Federal Rule of Civil Procedure 26(a)(1) or that they will do so within
the time provided by that rule.

             All counsel have agreed to exchange Rule 26(a)(1) Initial Disclosures

       by April 30, 2018.

3.0    Early Motions

       Identify any motion(s) whose early resolution would likely have a significant
effect either on the scope of discovery or other aspects of the litigation:


                                                                  Anticipated
Nature of Motion                            Moving Party
                                                                  Filing Date
Plaintiff’s Motion for Summary              Plaintiff             December 30,
Judgment                                                          2018

Defendant’s Motion for Summary              Defendant
Judgment                                                          December     30,
                                                                  2018
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4.0    Discovery

       4.1   Briefly describe any discovery that has been completed or is in
             progress:

             By plaintiff(s):

                    Plaintiff anticipates serving Defendant with Interrogatories,

             Request for Production of Documents, as well as a deposition.


             By defendant(s):

                    The Defendants anticipate conducting discovery by way of

             Interrogatories, Request for Production of Documents, Request for

             Admissions and depositions on the following subject matters, among

             others:

                    (a) The facts and circumstances surrounding the alleged October

                       24, 2017 telephone call;

                    (b) The telephone records for Plaintiff;

                    (c) Whether Plaintiff had recently inquired into Defendant’s

                       products;

                    (d) The policies and procedures of Defendant’s third party

                       customer call service;

                    (e) The use or nonuse of ATDS by Defendant’s third party

                       customer call service;
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            (f) The policies and procedures of Defendant’s third party

               customer call service to ensure compliance with the TCPA;

            (g) The background, education, work history (if applicable) of

               Plaintiff;

            (h) The experience of Plaintiff in filing similar claims;

            (i) The identification of all other phones, whether cellular phone or

               landline, owned, used and operated by Plaintiff;

            (j) The identification of witnesses Plaintiff may offer in support of

               his liability and damages claims and the facts known and

               information held by those witnesses;

            (k) The identification of any and all eye-witnesses to the events of

               October 24, 2017, and the information known by those

               witnesses and observations made by those witnesses;

            (l) The information known to all witnesses who may be offered in

               support of Plaintiffs’ TCPA, trespass to chattels, and invasion

               of privacy claims;

            (m)   The identification of any and all eye-witnesses to the phone

               call initiated by Defendant’s third party customer call service;
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             (n) The identification of any expert witnesses offered by Plaintiff

                who will support his theory of liability and discovery related to

                the basis and reliability for that opinion testimony;

             (o) The nature and extent of the injuries and damages claimed by

                Plaintiff.

             At this early stage of the proceedings, all parties have made

       reasonable efforts to outline areas of discovery which might be sought.

       However, both Plaintiff and Defendant reserve the right to seek additional

       discovery on other subjects, if relevant and proportional. Further, the

       inclusion of an item in this report does not constitute a waiver of any

       parties’ right to object to the relevancy, materiality, scope of

       proportionality of any discovery request.

 4.2   Describe any discovery that all parties agree should be conducted,
       indicating for each discovery undertaking its purpose or what kinds of
       information will be developed through it (e.g., “plaintiff will depose Mr.
       Jones, defendant’s controller, to learn what defendant’s revenue
       recognition policies were and how they were applied to the kinds of
       contracts in this case”):

             The parties have met and conferred to prepare this Joint Case

       Management Plan and it is anticipated that the parties will continue to

       work cooperatively throughout the discovery process. That said, it is

       difficult at this early stage of the litigation to identify all areas of

       necessary discovery. Further, it is difficult to come to a consensus on
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       what discovery “should be conducted”. That said, the parties agree that

       the Defendants have the right to depose Plaintiff on relevant subject

       matters and Plaintiff has the right to depose a corporate representative

       of Defendant and/or Defendant’s third party customer call service on

       issues relating to the policies and procedures for calling customers.

       Beyond that, the parties agree to work cooperatively to ensure that

       discovery proceeds in an efficient manner.

 4.3   Describe any discovery that one or more parties want(s) to conduct but
       to which another party objects, indicating for each such discovery
       undertaking its purpose or what kinds of information would be
       developed through it:

             At this point, the parties have not identified any concrete areas of

       dispute with respect to discovery. As the discovery process proceeds,

       the parties are committed to working cooperatively and the parties will

       meet and confer in an effort to resolve any dispute that might arise

       regarding the relevancy or proportionality of a given discovery demand.

 4.4   Identify any subject area limitations on discovery that one or more
       parties would like imposed, at the first stage of or throughout the
       litigation:

             See, Section 4.2 and 4.3 of this Joint Case Management Plan.

 4.5   For each of the following discovery tools, recommend the per-party or
       per-side limitation (specify a number) that should be fixed, subject to
       later modification by stipulation or court order on an appropriate
       showing (where the parties cannot agree, set forth separately the limits
       recommended by plaintiff(s) and by defendant(s)):
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       4.5.1 depositions (excluding experts) to be taken by:

                   plaintiff(s): 2              defendant(s): 5


       4.5.2 interrogatories to be served by:

                   plaintiff(s): 25             defendant(s): 25


       4.5.3 document production requests to be served by:

                   plaintiff(s): 25             defendant(s): 25


       4.5.4. requests for admission to be served by:

                   plaintiff(s): 25             defendant(s): 25


 4.6   Discovery of Electronically Stored Information

             Counsel certify that they have conferred about the matters
             addressed in M.D. Pa LR 26.1 and that they are in agreement
             about how those matters will be addressed in discovery.


             Counsel certify that they have conferred about the matters
             addressed in M.D. Pa LR 26.1 and that they are in agreement
             about how those matters will be addressed in discovery with the
             following exceptions:
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5.0    Protective Order

       5.1   If entry of a protective order is sought, attach to this statement a copy
             of the proposed order. Include a statement justifying the propriety of
             such a protective order under existing Third Circuit precedent.
                   Defendant seeks the entry of a Protective Order to protect against

             any unnecessary dissemination of proprietary materials relating to its

             customers, creation of customer call lists, and any other proprietary or

             trade secret materials that give Defendant a competitive advantage. The

             Federal Rules of Civil Procedure recognize and empower district courts

             to enter Protective Orders designed to protect confidential research,

             development and commercial information. In particular, Rule 26(c) of

             the Federal Rules of Civil Procedure recognizes that a district court

             may, for good cause, issue an order to protect a party from undue

             burden or expense by “requiring that a trade secret or other confidential

             research, development or commercial information not be revealed or be

             revealed only in a specified way.”

                   The Third Circuit Court of Appeals has also endorsed the entry of

             Protective Orders, where necessary and reasonably tailored to protect

             proprietary commercial information. See Cipollone v. Liggett Grp.,

             Inc., 785 F.2d 1108, 1122 (3d Cir. 1986) (“It is equally consistent with

             the proper allocation of evidentiary burdens for the court to construct a
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             broad ‘umbrella’ protective order upon a threshold showing by one

             party (the movant) of good cause.”); Pearson v. Miller, 211 F.3d 57, 73

             (3d Cir. 2000) (“[I]in appropriate circumstances, a district court is

             empowered to issue umbrella protective orders protecting classes of

             documents after a threshold showing by the party seeking protection.”);

             Pansy v. Borough of Stroudsburg, 23 F.3d 772, 787 n.17 (3d Cir. 1994)

             (“[T]he court may construct a broad umbrella protective order upon a

             threshold showing by the movant of good cause.”).

                      At this time, Plaintiff objects to a Protective Order on the basis

             that he is seeking counsel and desires to have his counsel engaged in the

             agreement and need for a Protective Order. While the parties have yet

             to reach an agreement on the need for a Protective Order, the parties

             have agreed to continue to work cooperatively and try to resolve this

             issue.

       5.2   If there is a dispute about whether a protective order should be entered,
             or about certain terms of the proposed order, briefly summarize each
             party’s position below:

                      See Section 5.1 of this Joint Case Management Plan.

6.0    Scheduling

       6.1   Final date for joining additional parties:

             March 30, 2018       Plaintiff(s)
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       April 15, 2018      Defendant(s)

 6.2   Final date for amending pleadings:

       May 15, 2018        Plaintiff(s)

       June 30, 2018       Defendant(s)

 6.3   All fact discovery commenced in time to be completed by:

       December 15, 2018

 6.4   All potentially dispositive motion should be filed by:

       December 30, 2018

 6.5   Reports from retained experts due:

       from plaintiff(s) by September 15, 2018

       from defendant(s) by October 15, 2018

 6.6   Supplementations due October 30, 2018

 6.7   All expert discovery commenced in time to be completed by

       December 15, 2018

 6.8   This case may be appropriate for trial in approximately:

       __ 240 Days from the filing of the action in this court

       X 365 Days from the filing of the action in this court

       __ Days from the filing of the action in this court

 6.9   Suggested Date for the Pretrial Conference:

       January 2019         (month/year)
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       6.10 Trial

             The parties agree to have the Honorable Karoline Mehalchick conduct
             all proceedings, including jury trial and entry of judgment. The parties
             further agree that the Honorable Karoline Mehalchick can assign the
             case to a specific trial term.

             6.10.1 .     Suggested Date for Trial:

                          The parties propose a suggested trial date in the February
                    2018 or March 2018 trial term.

                          February 2018 or March 2018 Trial Term (month/year)

7.0    Certification of Settlement Authority (All Parties Shall Complete the
       Certification)

       I hereby certify that the following individual(s) have settlement authority.

       Robert D. Kline, J.D.
       2256 Fairview Road
       McClure, PA 17841
       (502 )658 -3448
       Pro Se Plaintiff

       Clem C. Trischler, Esq.
       PIETRAGALLO GORDON ALFANO BOSICK & RASPANTI, LLP
       One Oxford Centre, 38th Floor
       Pittsburgh, PA 15216
       (412) 263-1816
       Counsel for Defendant – Polaris Industries Inc.

       Jeff Eyres, Esq.
       2100 Highway 55
       Medina, MN 55340-9770
       (763) 542-2309
       Assistant General Counsel for Polaris Industries Inc.
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8.0    Alternative Dispute Resolution (“ADR”)

       8.1   Identify any ADR procedure to which this case already has been assigned
             or which the parties have agreed to use.

             ADR procedure Private mediation

             Date ADR to commenced December 15, 2018
             Date ADR to be completed December 15, 2018

       8.2   If the parties have been unable to agree on an ADR procedure, but one
             or more parties believes that the case is appropriate for such a
             procedure, identify the party or parties that recommend ADR and the
             specific ADR process recommended:

             Not applicable.

       8.3   If all parties share the view that no ADR procedure should be used in
             this case, set forth the basis for that view:

             Not applicable.

9.0    Consent to Jurisdiction by a Magistrate Judge

       Indicate whether all parties agree, pursuant to 28 U.S.C. § 6363(c)(1), to
       have a magistrate judge preside as the judge of the case with appeal lying to
       the United States Court of Appeals for the Third Circuit:

       All parties agree to jurisdiction by a magistrate judge of this court: x Y N

       If parties agree to proceed before a magistrate judge, please indicate below
       which location is desired for the proceedings:

             ____ Scranton/Wilkes-Barre

              X Harrisburg
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10.0 Other Matters

      Make any other suggestions for the case development process, settlement, or
      trial that may be useful or necessary to the efficient and just resolution of the
      dispute.

      None at this time.

11.0 Identification of Counsel

      Counsel shall be registered users of the court’s Electronic Case Files System
      (ECF) and shall file documents electronically in accordance with the Local
      Rules of Court and the Standing Order RE: Electronic Case Filing Policies
      and Procedures. Electronic filing is required unless good cause is shown to
      the Chief Judge why counsel cannot comply with this policy. Any request for
      waiver of electronic filing must be filed with the Clerk’s Office prior to the
      case management conference. The Chief Judge may grant or deny such
      request.

      Identify by name, address, and telephone number lead counsel for each party.
      Also please indicate ECF User status below.

Dated: February 5, 2018 /s/ Robert D. Kline, J.D.
                        Robert D. Kline
                        2256 Fairview Road
                        McClure, PA 17841
                        (502) 658 -3448
                        Pro Se Plaintiff
                   □    ECF User(s)
                   X    Waiver requested (as separate document)
                   □    Fed.R.Civ.P.7.1 (statement filed if necessary)*


Dated: February 5, 2018 /s/ James F. Marrion
                        Clem C. Trischler, Esq.
                        James F. Marrion, Esq.
                        PIETRAGALLO GORDON ALFANO BOSICK & RASPANTI, LLP
                        One Oxford Centre
                        Floor 38
                        Pittsburgh, PA 15219
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                          (412) 263-2000 Telephone
                          Attorney(s) for Defendant(s)

                    X     ECF User(s)
                    □     Waiver requested (as separate document)
                    □     Fed.R.Civ.P.7.1 (statement filed if necessary)*


*Fed.R.Civ.P.7.1 requires a nongovernmental corporate party to file a statement
with the initial pleading, first entry of appearance, etc., that identifies any parent
corporation and any publicly held corporation that owns 10% or more of its stock,
or state there is no such corporation.
